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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                            8:13CR107 AND 8:15CR44

       vs.
                                                             SENTENCING ORDER
MICHAEL HUYCK,

                     Defendant.


       This matter is before the Court for sentencing. This sentencing order supplements

findings made on the record at a sentencing hearing on September 1, 2015. See Filing No.

497.

       BACKGROUND

       Pursuant to an investigation of peer-to-peer file sharing, investigators with the FBI

Omaha Cyber Crimes Task Force obtained a search warrant seeking evidence of child

pornography at the defendant’s residence. Defendant was found guilty of Count I, receipt

and attempted receipt of child pornography, in violation of 18 U.S.C. § 2252A,

subparagraphs (a)(2) and (b)(1), and Count II, access with the intent to view, in violation of

18 U.S.C. § 2252A(a)(5)(B) of the second superseding indictment in case number

13CR107.1 He was further found guilty of Count II, possession of child pornography in

violation of 18 U.S.C. § 2252A(a)(5)(B), in case number 15CR44.2 The evidence adduced

at trial showed that the charges in the first case pertained to Huyck's access to and receipt


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         The mandatory minimum sentence for receipt of child pornography (the crime
charged in Count I) is five years and the maximum is twenty years. 18 U.S.C. §
2252A(b)(1). In contrast, possession of child pornography (the crime charged in Count II)
has no mandatory minimum and carries a maximum sentence of ten years for a first
offender. 18 U.S.C. § 2252(b)(1). The defendant was not charged with distribution.
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          The jury also found defendant guilty of Count I, in 15CR44, but the Court found
insufficient evidence to support that verdict. The Court also dismissed Count III in this case.
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of child pornography from the Tor-network-based Pedoboard website in late 2012. The

charges in the second case related to child pornography found on computer storage

devices (a Hitachi hard drive and a G-Technology external storage device or "thumb drive")

that were seized in a search of the defendant's home on April 9, 2013. There was evidence

that some equipment had been "wiped" or "cleaned" shortly before the equipment was

seized.

          In the Presentence Investigation Report (PSR), the Probation Office based its outline

of the offense conduct on the prosecutor’s version of events. Filing No. 499, PSR (sealed)

at 4-9.

          Case 8:13CR107 – Case One

          On October 23, 2013, a two count Second Superseding Indictment provided a

description of Website A, a child pornography bulletin board. It operated from January of

2009 until December of 2012 from computers located in Bellevue and Omaha, Nebraska, in

the District of Nebraska. On November 15, 2012, the computer server hosting “Website A”

was seized from a web-hosting facility in Bellevue, Nebraska. The website remained

operating in Omaha, Nebraska, from November 16, 2012, until December 2, 2012, at which

time “Website A” ceased to operate. Law enforcement viewed and examined the contents

and communications of “Website A”. Topics of conversation in that area consistently

involved the sexual exploitation of children. As of December 2, 2012, “Website A” had over

5,600 members, over 3,000 message threads, and over 24,000 postings. “Website A” also

depicted infant and toddler aged children depicted in a pornographic way. In total, “Website

A” contained thousands of postings and messages and well over 10,000 child pornography

images.




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       Case 8:15CR44 – Case Two

       On February 18, 2015, a three count Indictment was filed in the District of Nebraska,

charging in Count I that on or about between August 20, 2010, and October 1, 2010, in the

District of Nebraska, and elsewhere, the defendant, Michael Huyck, knowingly received and

attempted to receive, any child pornography as defined in Title 18, United States Code,

Section 2256(8)(A), in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1). Count II charged that

on or about between August 20, 2010, and April 9, 2013, in the District of Nebraska, the

Defendant, Michael Huyck, did knowingly possess a computer, computer disk, and any

other material, to wit: a 160 GB Hitachi computer hard drive, model no. HTS723216L9SA60,

that contains an image of child pornography, as defined in Title 18, United States Code,

Section 2256(8)(A), in violation of 18 U.S.C. § 2252A(a)(5)(B). Count III charged that on or

about between November 20, 2012, and April 9, 2013, in the District of Nebraska, the

Defendant, Michael Huyck, did knowingly possess a computer, computer disk, and any

other material, to wit: a 2TB G-technology external storage device, model G-SF3 2000,

serial no. W701220296, that contains an image of child pornography, as defined in Title 18,

United States Code, Section 2256(8)(A), in violation of 18 U.S.C. § 2252A(a)(5)(B).

       Count III in 8:15CR44 was dismissed by the Court at the close of evidence. The jury

returned a verdict of guilty on Counts I and II for both cases on March 6, 2015. The Court

did not accept the verdict on Count I. Sentencing was scheduled for May 29, 2015, then

continued to June 26, 2015, and continued again to September 1, 2015.

         PSR

       The presentence investigator based her recommendations on the following

information. Defendant was a visitor to the PedoBoard website. PedoBoard was a

repository of images depicting the sexual abuse and rape of prepubescent children. More

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than 10,000 images of child pornography were on PedoBoard. Defendant’s IP address was

identified as visiting the PedoBoard on November 21, 2012. The images included children

between five and ten years of age engaged in sexual acts with children and adults.

Defendant admitted using TOR. He admitted that he was an IT professional. Defendant

used a data wiper to completely erase data from one or more of his drives.

       Huyck has two full siblings and five half siblings. He is single and has never been

married, although he has one daughter. He completed his GED in 1995 and earned a

Computer Information Systems B.A. in 2004. He has taken some classes towards a

master’s degree. He previously worked as a computer programmer.

       The probation office recommended the following sentencing options:

       Statutory Provisions: Count I (8:13CR107): The minimum term of imprisonment is

five years and the maximum term is twenty years. 18 U.S.C. § 2252A(a)(2) and 18 U.S.C. §

2252A(b)(1). Count II, both cases: The maximum term of imprisonment is ten years. 18

U.S.C. § 2252A(a)(5)(B). Recommended sentence: 120 months, concurrent.

       Based upon a Total Offense Level 33 and a Criminal History Category III, the

guideline imprisonment range is 168 to 210 months; however, the statutory maximum

sentence in Count II of both cases is 120 months.

       A presentence investigation report was prepared in this matter.       Filing No. 499

(sealed). The Probation Office grouped Counts I and II of 8:13CR107 and Count II for

8:15CR44 together for guideline calculation purposes. Pursuant to U.S.S.G. § 3D1.2(d), the

counts are grouped when the offense level is determined largely on the basis of the total

amount of harm or loss, the quantity of a substance involved, or some other measure of

aggregate harm, or if the offense behavior is ongoing or continuous in nature.




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       The Probation Office determined that the defendant’s base offense level was 22

under U.S.S.G. § 2G2.2(a)(2) for receipt of child pornography. Id. at 14. It found a two-level

downward adjustment under U.S.S.G. § 2G2.2(b)(1) (defendant did not intend to traffic in or

distribute such material) was appropriate. It found the following upward adjustments were

applicable: a two-level increase under U.S.S.G. § 2G2.2(b)(2) (for material containing a

prepubescent minor); a four-level increase under U.S.S.G. § 2G2.2(b)(4) (for material that

portrays sadistic or masochistic conduct or other depictions of violence); a two-level

increase under U.S.S.G. § 2G2.2(b)(6) (for use of a computer); and a five-level increase

under U.S.S.G. § 2G2.2(b)(7)(D) (for more than 600 images). Id. The application of these

enhancements results in an adjusted offense level of 33. Id. There is no reduction for

acceptance of responsibility under U.S.S.G. § 3E1.1, and thus Huyck’s total offense level

under the Guidelines is 33. Id.

       The Probation Office assessed six criminal history points, three for first degree

assault in October of 1995 and three for theft by unlawful taking in December of 1995.

According to the sentencing table in U.S.S.G. Chapter 5, Part A, a criminal history score of

six establishes a criminal history category of III.

       The government has no objections to the report. See Filing No. 499, at 22. The

defendant, however, objected to several provisions, including stating that it is inaccurate to

state that 95 images of child pornography were found on the defendant's devices. One

single device held those 95 files in a system-generated thumbs.db file. Notably, that file is

only accessible through the use of forensic software. Thus, those images are not accessible

to a computer user without forensic software. There was no evidence that the defendant

was in possession of or had access to the required forensic software in this case. He also

contends “There is no evidence to support the conclusion that ‘the defendant had likely

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been involved with significantly more photographs and/or videos of child pornography’ and

[t]here is no evidence that the defendant was ‘regularly wiping his hard drive.’” Further, he

contends that “[t]here is no evidence to support a determination that Mr. Huyck is a threat to

children” and moved for a departure for overstatement of criminal history pursuant to

U.S.S.G. § 4A1.3 and for a variance under 18 U.S.C. 3553. Id. at 22-24.

       At the sentencing hearing, the Court sustained the defendant's objection to the five-

level enhancement for images numbering in excess of 600 (see paragraphs 31, 42, and 52-

55, see Filing No. 499 (sealed)) in that the enhancement per 2G2.2 is +2 instead of +5 but

otherwise overruled; and the objections are overruled as to paragraphs 32, 43. The Court

further granted the defendant's motion for variance, and for a downward departure. The

Court found the defendant's criminal history was overstated and criminal history category II

applies. Accordingly, the Court sentenced the defendant to the Bureau of Prisons for a term

of seventy-two months on Count I and thirty-six months Count II to run concurrently.

       LAW

       Because the Sentencing Guidelines are no longer mandatory, the range of choice in

sentencing dictated by the facts of the case has been significantly broadened. See United

States v. Booker, 543 U.S. 220, 260-61 (2005); Gall v. United States, 552 U.S. 38, 59

(2007); Kimbrough v. United States, 552 U.S. 85, 101 (2007); Rita v. United States, 551

U.S. 338, 349-50 (2007); Cunningham v. California, 549 U.S. 270, 286-87 (2007). District

courts must “give respectful consideration to the Guidelines,” but are permitted “‘to tailor the

sentence in light of other statutory concerns as well.’” Kimbrough, 552 U.S. at 101 (quoting

Booker, 543 U.S. at 245-246).

       In imposing a sentence, the district court must consider the factors set out in the

Sentencing Reform Act at 18 U.S.C. § 3553(a), including the nature of the offense, history

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and characteristics of the defendant, the need to deter criminal conduct, and the need to

protect the public from further crimes by the defendant. See, e.g., Gall, 552 U.S. at 41, 49-

50 & n.6; Booker, 543 U.S. at 259-60; Nelson v. United States, 555 U.S. 350, 351-52 (2009)

(per curiam). That statute “contains an overarching provision instructing district courts to

‘impose a sentence sufficient, but not greater than necessary’ to accomplish the goals of

sentencing.” Kimbrough, 552 U.S. at 101 (quoting 18 U.S.C. § 3553(a)).

       The sentencing court must first calculate the Guidelines range, and then consider

what sentence is appropriate for the individual defendant in light of the statutory sentencing

factors explaining any variance from the former with reference to the latter. Nelson, 555

U.S. at 351; United States v. VandeBrake, 679 F.3d 1030, 1040 n.7 (8th Cir. 2012)

(explaining that the three steps in the post-Booker sentencing process are: (1) to determine

the initial advisory guideline sentencing range, (2) to determine any appropriate departures

(upward or downward) from the guidelines, and (3) to decide whether to vary from the

advisory guideline range based on the factors set forth in § 3553(a), so long as such a

variance is reasonable). A sentencing court may not presume that a sentence within the

applicable Guidelines range is reasonable. Id.

       In determining a sentence, the court can consider whether the guideline at issue

exemplifies the Sentencing Commission’s “exercise of its characteristic institutional role”

which is “to formulate and constantly refine national sentencing standards”, basing “its

determinations on empirical data and national experience, guided by a professional staff

with appropriate expertise.” Kimbrough, 552 U.S. at 108-09; Rita, 551 U.S. at 347-50. In

formulating most Guidelines, the Commission developed and used data on past practices

and recidivism to establish offense levels for each crime, linked to a recommended

imprisonment range, based on these sentencing statistics. See United States Sentencing

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Comm’n, Fifteen Years of Guidelines Sentencing: An Assessment of How Well the Federal

Criminal Justice System is Achieving the Goals of Sentencing Reform 14, 72-73 (November

2004) hhtp://www.ussc.gov/ ResearchandStatistics/ ResearchProjects/ Miscellaneous/

15yearstudy/index.cfm (“Fifteen-Year Assessment”) (last visited Oct. 2, 2013); U.S.S.G. §

1A.1, intro. comment., pt. A, 3; Kimbrough, 552 U.S. at 96; Gall, 552 U.S. at 46 (noting that

the Guidelines are “the product of careful study based on extensive empirical evidence

derived from the review of thousands of individual sentencing decisions”). When Guidelines

are not the result of the Commission’s exercise of its characteristic institutional role, such as

when they are not based on any identified empirical approach, but are instead keyed to or

guided by statutory directives, a court is not presented with the “ordinary case,” in which

“the Commission’s recommendation of a sentencing range will ‘reflect a rough

approximation of sentences that might achieve § 3553(a)’s objectives’” and it “would not be

an abuse of discretion for a district court to conclude when sentencing a particular

defendant” that application of the guideline “yields a sentence ‘greater than necessary’ to

achieve §-3553(a)’s purposes even in a mine-run case.” Kimbrough, 552 U.S. at 109-110

(quoting Rita, 551 U.S. at 350); see also Gall, 552 U.S. at 46 n.2 (noting that not all

Guidelines are tied to empirical evidence).

         Both for policy reasons and because Congress had enacted mandatory minimum

sentences, the Commission departed from past practices in setting offense levels for child

abuse crimes and sexual offenses. Fifteen-Year Assessment at 15, 72-73; United States

Sentencing Comm’n, The History of the Child Pornography Guidelines 44-48 (October

2009),    http://www.ussc.gov/Publications/Offense_Types/index.cfm        (“2009   Child   Porn.

History Rep’t”) (discussing the Commission’s approach to setting a base offense level that

corresponds to a mandatory minimum sentence) (last visited Oct. 2, 2013); Troy Stabenow,

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Deconstructing the Myth of Careful Study: A Primer on the Flawed Progression of the Child

Pornography Guidelines (July 3, 2008), http://www.fd.org/navigation/select-topics-in-

criminal-defense/sentencing-resources/subsections/deconstructing-the-guidelines

(unpublished comment) (last visited Oct. 2, 2013). The Guidelines for child exploitation

offenses were not developed under the statistical approach, but were promulgated, for the

most part, in response to statutory directives. See 2009 Child Porn History Rep’t at 8–50

(discussing the various statutes related to child pornography that Congress has enacted

since 1977); United States Sentencing Comm’n, Report to Congress: Sex Offenses Against

Children, Findings and Recommendations Regarding Federal Penalties (June 1996),

http://www.ussc.gov/Legislative_and_Public_Affairs/Congressional_Testimony_and_Report

s/Sex_Offense_Topics/199606_RtC_Sex_Crimes_Against_Children/SCAC_Executive_Sum

mary.htm    (last   visited   Oct.   2,   2013),   1996   Rep’t   to   Cong    (Dec.   2012),

http://www.ussc.gov/Legislative_and_Public_Affairs/Congressional_Testimony_and_

Reports/Sex_Offense_Topics/201212_Federal_Child_Pornography_Offenses/index.cfm

(“2012 Rep’t to Cong.”); see, e.g., U.S.S.G. App. C, Vol. I, Amends. 435 & 436 (Nov. 27,

2013). Over the years, Congress has passed numerous laws of increasing severity that

regulate child pornography and exploitation of children. See, e.g., the Protection of Children

Against Sexual Exploitation Act of 1977, codified as amended at 18 U.S.C. §§ 2251-2253;

the Child Protection Act of 1984, codified as amended at 18 U.S.C. § 2253; the Child

Protection and Obscenity Enforcement Act of 1988, codified as amended at 18 U.S.C. §§

2251 & 2252(a); the Sex Crimes Against Children Act of 1995, codified as amended at 18

U.S.C. §§ 2251 & 2252; the Child Pornography Prevention Act of 1996, codified as

amended at 18 U.S.C. § 2251 (extending the prohibition against child pornography to

sexually explicit images that appear to depict minors but were produced without using any

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 real children), invalidated as unconstitutional in Ashcroft v. Free Speech Coal., 535 U.S.

 234 (2002), & 2252A; the Protection of Children from Sexual Predators Act of 1998, codified

 as amended at 18 U.S.C. § 2426; the Prosecutorial Remedies and Other Tools to End the

 Exploitation of Children Today Act of 2003 (“PROTECT Act”), codified as amended at 18

 U.S.C. § 2252B; the PROTECT Our Children Act, Pub. L. No. 110–401, § 304 (2008). In

 late 2012, Congress enacted the Child Protection Act of 2012, which raised the statutory

 maximum term of imprisonment for possession of child pornography from ten to twenty

 years for defendants who possessed images of a prepubescent minor or a minor under

 twelve years of age. See P. L. No. 112–206, 126 Stat. 1490 (Dec. 7, 2012). Sentencing

 Commission data shows that virtually all offenders (96.3%) possess images of minors who

 were prepubescent or under twelve years of age. See 2012 Rep’t to Cong. at 312.

         “The three main statutory penalty ranges in federal child pornography cases today

 are 15 years to life imprisonment for production offenses, five to 15 years for receipt,

 transportation, and distribution (R/T/D) offenses, and zero to ten or 20 years for possession

 offenses (depending on the age and sexual maturity of the victims depicted in the images

 possessed).”3 Id. at 38-39. Overall, the Commission reports that “[b]y fiscal year 2010, the

 average prison sentence for offenders convicted solely of possession offenses was 63

 months, and the average prison sentence of offenders convicted of R/T/D offenses was 129


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             The Guidelines sentencing ranges correspond accordingly:

         Production offenders are sentenced under § 2G2.1 and face a base offense
         level of 32. R/T/D offenders face a base offense level of 22 (although
         offenders who only received and had no intent to distribute are eligible for a
         2-level reduction). Offenders only convicted of possession have a base
         offense level of 18. Offenders sentenced under either §§ 2G2.1 or 2G2.2 also
         face up to six potential enhancements for a variety of aggravating factors.
 Id. at 39.


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 months.” Id. at 164. Also, in that year, “slightly over half of all non-production offenders

 faced a statutory mandatory minimum sentence” and the vast majority of such offenders

 faced a five-year statutory mandatory minimum sentence.” Id. at 165.

        The clear focus of this legislation and concomitant Guidelines revision is on the

 patent evils of child pornography and the new dimension that computer technology adds to

 those evils.   See Child Pornography Prevention Act of 1996, Omnibus Consolidated

 Appropriations Act, Pub. L. No. 104-208, § 121, 1996 H.R. 3610, 104th Cong., 110 Stat.

 3009, 3009-26 (1996); see also notes following 18 U.S.C.A. § 2251; Child Porn. History

 Rep’t at 30-31.   In particular, the amendments to the Guidelines reflect Congressional

 concerns that “pedophiles, including those who use the Internet, are using child

 pornographic and obscene material to desensitize children to sexual activity, to convince

 children that sexual activity involving children is normal, and to entice children to engage in

 sexual activity.” U.S.S.G. App. C., Vol. 2, amend. 592 (Nov. 1, 2000); 2009 Child Porn.

 History Rep’t at 30-31. In drafting the Guidelines, the Commission was also interested in

 “how best to identify those offenders at the greatest risk of recidivism.” Id. at 37. The

 primary victims of the crime of possession of pornography are the exploited children. See

 United States v. Rugh, 968 F.2d 750, 756 (8th Cir. 1992).

        The Commission, in agreement with the general consensus among stakeholders,

 now believes that child pornography offenses are extremely serious, but it “also concurs

 with the many stakeholders who contend that the sentencing scheme should be revised to

 better reflect both technological changes in offense conduct and emerging social science

 research and also better account for the variations in offenders’ culpability and their sexual

 dangerousness.” 2012 Child Pornography Rep’t, Exec. Summary at xix. The Commission

 concluded that “the current sentencing scheme results in overly severe guideline ranges for

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 some offenders based on outdated and disproportionate enhancements related to their

 collecting behavior.” Id. at 321. At the same time, the Guidelines scheme results in unduly

 lenient ranges for other offenders who are more culpable or dangerous. Id. For instance,

 the Commission found that, for 2010, the enhancements for possessing materials depicting

 prepubescent minors (§ 2G2.2(b)(2)), use of a computer (§ 2G2.2(b)(6)), and number of

 images (§ 2G2.2(b)(7)) applied in over 95% of all § 2G2.2 cases. Id. at 209, 312 (“virtually

 all offenders (96.3%) possess images of minors who were prepubescent or under 12 years

 of age”). Over the last decade, technological changes, such as the widespread use of peer-

 to-peer (P2P) file-sharing networks, have changed the typical offender’s profile—the

 anonymous and ready accessibility offered by new technologies means that the typical

 offender’s collection has not only grown in volume but is also likely to include more of the

 worst kinds of material, including graphic sexual abuse of prepubescent children. Id. at

 312-13, 316. Due to the “dramatic technological changes that have greatly facilitated the

 commission of child pornography offenses,” even “entry-level offenders” can easily acquire

 and distribute large quantities of child pornography.     Id. at 6, 149, 154, 312–13.     The

 Commission now recommends that the non-production Guideline should be revised to more

 fully account three factors:

        1) the content of an offender’s child pornography collection and the nature of
        an offender’s collecting behavior (in terms of volume, the types of sexual
        conduct depicted in the images, the ages of the victims depicted, and the
        extent to which an offender has organized, maintained, and protected his
        collection over time, including through the use of sophisticated technology);

        2) the degree of an offender’s engagement with other offenders—in
        particular, in an Internet “community” devoted to child pornography and child
        sexual exploitation; and

        3) whether an offender has a history of engaging in sexually abusive,
        exploitative, or predatory conduct in addition to his child pornography offense.


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 2012 Child Pornography Rep’t at 320.

        Also, the fairness of the Guidelines is heavily dependent on fair and reasonably

 consistent charging policies in the Department of Justice. Fifteen-Year Assessment at 23-

 24. The Commission has acknowledged that often “the value of a mandatory minimum

 sentence lies not in its imposition, but in its value as a bargaining chip to be given away in

 return for the resource-saving plea from the defendant to a more leniently sanctioned

 charge.”   United States Sentencing Comm’n, Special Report to Congress: Mandatory

 Minimum Penalties in the Federal Criminal Justice System 14-15 (August 1991) (“1991

 Mand. Min. Rep’t”), http://www.ussc.gov/Legislative_ and_Public_Affairs/ Congressional_

 Testimony_and_Reports/Mandatory_Minimum_Penalties/199108_RtC_Mandatory_Minimu

 m.htm (last visited Jan. 9, 2014). The Commission also acknowledges that “[s]ince the

 power to determine the charge of conviction rests exclusively with the prosecution for the 85

 percent of the cases that do not proceed to trial, mandatory minimums transfer sentencing

 power from the court to the prosecution” and “to the extent that prosecutorial discretion is

 exercised with preference to some and not to others,” disparity is reintroduced into the

 system. 1991 Mand. Min. Rep’t at 1; see also Fifteen-Year Assessment at 89 (noting that

 research over the past fifteen years has “consistently found that mandatory penalty statutes

 are used inconsistently in cases in which they appear to apply”); United States Sentencing

 Comm’n, Report to the Congress: Mandatory Minimum Penalties in the Federal Criminal

 Justice System, Executive Summary at xxxi (Oct. 2011) (“2011 Mand. Min. Rep’t”)

 http://www.ussc.gov/Legislative_and_Public_       Affairs/   Congressional_   Testimony_and_

 Reports/Mandatory_Minimum_Penalties/20111031_RtC_Mandatory_               Minimum.cfm    (last

 visited Oct. 2, 2013) (“The Commission’s preliminary review of the available sentencing

 data suggests that the mandatory minimum penalties for certain non-contact child

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 pornography offenses may be excessively severe and as a result are being applied

 inconsistently.”). The Commission acknowledges that widespread sentencing disparities

 among similarly situated offenders in child pornography cases are attributable in part to

 disparate charging practices. 2012 Child Pornography Rep’t. at 13.

        Long terms of imprisonment for non-acting-out offenders have been strongly

 attacked as unsound, overly harsh and as fundamentally deviating from the Guidelines’

 overarching policy and expertise. See, e.g., United States v. Dorvee, 616 F.3d 174, 185-88

 (2d Cir. 2010); United States v. Henderson, 649 F.3d 955, 960 (9th Cir. 2011) United States

 v. Grober, 624 F.3d 592, 609 (3d Cir. 2010); United States v. Stone, 575 F.3d 83, 97 (1st

 Cir. 2009).4

        DISCUSSION

        A. Guideline Calculation

        The Court adopts in part and rejects in part the findings in the PSR. Huyck's base

 offense level under the Guidelines is 22. See U.S.S.G. § 2G2.2(a)(2). The Court finds the



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           Numerous district courts have also determined that the Guidelines in child
 pornography cases are owed less deference than those for other offenses because the
 Guidelines for child pornography crimes are “largely the product of congressional directives,
 some of which the Sentencing Commission actively opposed, rather than Commission study
 and expertise.” United States v. Diaz, 720 F. Supp. 2d 1039, 1042 (E.D. Wis. 2010); see,
 e.g., United States v. Munoz, No. 11-cr-167, 2012 WL 5351750, *4 (D. Minn. Oct. 30, 2012);
 United States v. Cameron, No. 1:09-cr-00024, 2011 WL 890502, *5–6 (D. Me. Mar. 11,
 2011); United States v. Diaz, 720 F.Supp.2d 1039, 1041-43 (E.D. Wis. 2010); United States
 v. Riley, 655 F.Supp.2d 1298, 1304–05 (S.D. Fla. 2009); United States v. McElheney, 630
 F.Supp.2d 886, 891 (E.D. Tenn. 2009); United States v. Beiermann, 599 F. Supp. 2d 1087,
 1100 (N.D. Iowa 2009); United States v. Phinney, 599 F. Supp. 2d 1037, 1040 (E.D. Wis.
 2009); United States v. Grober, 595 F.Supp.2d 382, 402 (D.N.J. 2008); United States v.
 Doktor, No. 6:08-cr-46, 2008 WL 5334121, *1 (M.D. Fla. Dec. 19, 2008); United States v.
 Stern, 590 F. Supp. 2d 945, 960-61 (N.D. Ohio 2008); United States v. Johnson, 588 F.
 Supp. 2d 997, 1003 (S.D. Iowa 2008); United States v. Noxon, No. 07-40152–01, 2008 WL
 4758583, *2-3 (D. Kan. Oct. 28, 2008); United States v. Ontiveros, No. 07-CR-333, 2008
 WL 2937539, at *8 (E.D. Wis. July 24, 2008); United States v. Hanson, 561 F.Supp.2d
 1004, 1008-11 (E.D. Wis. 2008); United States v. Shipley, 560 F.Supp.2d 739, 744 (S.D.
 Iowa 2008); United States v. Goldberg, No. 05-CR-0922, 2008 WL 4542957, at *6 (N.D. Ill.
 Apr. 30, 2008).
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 following adjustments are applicable: a two-level downward adjustment under U.S.S.G. §

 2G2.2(b)(1) (defendant did not intend to traffic in or distribute such material). The Court also

 finds the following upward adjustments are applicable: a two-level increase under U.S.S.G.

 § 2G2.2(b)(2) (for material containing a prepubescent minor); a four-level increase under

 U.S.S.G. § 2G2.2(b)(4) (for material that portrays sadistic or masochistic conduct or other

 depictions of violence); a two-level increase under U.S.S.G. § 2G2.2(b)(6) (for use of a

 computer); and a two-level increase under U.S.S.G. § 2G2.2(b)(7(D) (for number of images,

 namely 132 images).

        The Court finds that the evidence does not support a finding of more than 600

 images. The Court agrees with the defendant that based on the evidence, he cannot be

 held accountable for more than 600 images dealing with unallocated hard drive space. See

 e.g., United States v. Keefer, 405 Fed. App'x. 955 (6th Cir. 2010) (unpublished) (the 6th

 Circuit Court of Appeals remanded the case for resentencing due to the erroneous

 application of the same image number enhancement). The Court in Keefer stated:

 ““Presence, however, does not inherently require knowing possession or access, as anyone

 who has received spam email or visited one website only to have another, inadvertently

 accessed, website pop-up knows all too well.” Id. at 958.5 The Court finds that if defendant

 accesses a website that has a number of images and there is no evidence that the

        5
            The Sixth Circuit further stated:


        A district court cannot consider conduct as ‘relevant conduct' in its sentencing
        calculation 'unless the conduct at issue amounts to an offense for which a
        criminal defendant could potentially be incarcerated.' Therefore, to apply the
        enhancement here, the government must have shown by a preponderance of
        evidence that at some point Keefer knowingly possessed or knowingly
        accessed with intent to view each of the 600 or more images. See 18 U.S.C.
        § 2252A(a)(5)(B). United States v. Keefer, 405 F. App'x 955, 958 (6th Cir.
        2010) (citations omitted).
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 defendant viewed the images, those images cannot be attributable to the defendant. The

 Court, therefore, finds the correct number of images, based on the evidence, is 132, and

 thus the appropriate enhancement is two levels.

        Further, the Court finds there is not sufficient evidence to support the finding in the

 PSR that defendant used a data wiper to completely erase data from one or more of his

 drives. These findings result in an adjusted offense level of 30. There is no reduction for

 acceptance of responsibility under U.S.S.G. § 3E1.1. At criminal history category II,

 defendant’s guideline range is 108-135 months, for each charge. The Court further finds

 that a history category of II is appropriate, as the criminal history as set forth in the PSR is

 overstated. Both convictions occurred about twenty years ago, and one involved a fight

 over a girlfriend. The other involved a car stereo theft. Both crimes occurred approximately

 two months apart, and sentencing occurred on the same day.

        B. Section 3553(a) Factors

        Huyck’s motion for a deviation or variance from the Guidelines is granted. The Court

 finds a sentence outside the Guidelines is warranted in this case. The Court finds a

 sentence of seventy-two months, followed by a period of supervised release for five years is

 adequate to fulfill the goals of sentencing in this case.

        With respect to the nature and circumstances of the offense, the Court finds that

 possession of child pornography is a form of sexual exploitation and is a serious offense.

 Sexual exploitation offenses include the production of child pornography and the

 exploitation of children for the purposes of prostitution or the production of pornography, as

 well as trafficking in pornography. Criminalizing the possession of child pornography is a

 necessary complement to laws banning distribution of such items, and is intended to

 destroy the market for exploitation of children. Huyck’s conduct falls at the low end of the

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 continuum of criminal conduct—from possession to distribution to production to predatory

 abuse—that exploits children. A possessor of child pornography is the least culpable in the

 chain and is a marginal player in the overall child exploitation scheme.

        The varying levels of participation and blameworthiness in connection with

 distribution are meant to be accounted for in the Guidelines’ market-oriented scheme. The

 statutes criminalizing the possession and distribution of child pornography are aimed at the

 widespread and profit-driven dissemination of child pornography that the Internet facilitates

 and fosters. Although file-sharing arrangements contribute to Internet trafficking in child

 pornography, there is a qualitative difference between sharing one’s computer files and

 selling child pornography for profit. Because he is not engaged in a profit-making enterprise,

 Huyck is not in the same class as a large-scale distributor of child pornography. There has

 been no showing that Huyck possessed child pornography in order to entice a child, had

 any improper contact with children, photographed minors engaged in sexual conduct, or

 made attempts to contact a child.

        In determining this sentence, the Court has considered Huyck’s history and

 characteristics. Psychological testing shows that he is arguably at low risk to commit acts of

 sexual violence or violence. Further, although the science in this area is not as definitive as

 the court would like it to be, there is no indication that Dr. Newring’s psychological testing or

 conclusions are inappropriate or unreliable.

        The Court has consulted the Guidelines and has used the Guidelines calculation as

 its initial starting point. However, the child pornography Guidelines are driven by

 Congressional directive and are not grounded in any scientific, statistical, or empirical

 method. The advice imparted in the Guidelines does not reflect the sort of empirical data,

 national experience, and independent expertise that characterize the Sentencing

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 Commission’s institutional role. Given the acknowledged flaws in the Guidelines’ scheme for

 punishment of Internet child pornography crimes, the Court does not accord a high degree

 of deference to the Guidelines. It is difficult to defer to the Commission’s Guidelines when

 even the Commission believes they are flawed.

        It is clear that the Sentencing Commission diverged significantly from its studied,

 empirical approach in formulating the Guidelines that apply to Huyck’s case and the result is

 a recommended sentence that is greater than necessary to provide just punishment.

 Although downloading child pornography is hardly a harmless activity, it is not the

 equivalent of direct physical abuse or sexual molestation of children, or production of

 pornography involving children.

        The Court has also considered the need to avoid sentencing disparities, but is not

 persuaded by the comparison to the sentences imposed on other child pornography

 offenders in this district. It is the Court’s duty under Booker and progeny to make an

 individualized assessment with respect to this defendant. The Court agrees with the

 Sentencing Commission that the problem with the Guidelines for non-production offenses is

 that the Guidelines do not help the Court distinguish between run-of-the-mill offenders and

 the worst offenders. The Sentencing Commission has acknowledged that enhancements

 that were originally intended to apply to only those offenders who committed aggravated

 child pornography offenses are now being applied routinely to most offenders.

        The Guidelines’ sentencing scheme for child pornography crimes illogically skews

 sentences for “average” defendants to the upper end of the statutory range, regardless of

 the particular defendant’s acceptance of responsibility, criminal history, specific conduct, or

 degree of culpability, thus blurring distinctions between the least culpable and the worst

 offenders. In the context of this and other Internet child pornography crimes that involve

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 peer-to-peer networks, the Guidelines provide little distinction between a low-level

 distributor and a high-level distributor and no distinction between one who merely

 possesses and those who “receive,” as opposed to “distribute.” In this Court’s experience,

 there is essentially no Internet child pornography offender who could end up with a

 Guidelines-recommended sentence that falls at or close to the low end of the statutory

 range for either a possession or receipt offense. With the base offense level for receipt at

 22, and the base offense level for possession at 18, and a two-point enhancement for use

 of a computer that is applied in every Internet child pornography case, only an offender who

 possessed fewer than ten images that did not contain any of the images of prepubescent

 minors or sadistic or masochistic acts that are widely prevalent in child pornography could

 receive a sentence at the low end of the statutory range. Because of the nature of peer-to-

 peer file-sharing programs, a simple possessory crime evolves into a case that can be

 charged under the receipt prong of a receipt and distribution offense as soon as someone

 accesses a shared file. In virtually every child pornography prosecution, the application of

 numerous and severe enhancements results in a Guidelines sentencing range whose low

 end is close to the statutory maximum and in some cases, exceeds it. In this case, as in

 most, a fairly typical offender with an insignificant criminal history has a recommended

 Guidelines imprisonment range that is close to the statutory maximum.

        Because of the unfortunate ease with which large numbers of images can be

 accessed and stored, most child pornography offenders are subject to enhancements from

 two to five levels for the number of images.

        In this type of distribution scheme, the number of images does not provide the

 distinction between a large-scale and a small-scale child pornography purveyor that

 Congress and the Sentencing Commission must have envisioned when promulgating this

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 market-based and quantity-driven scheme. For example, in contrast to drug quantity in a

 drug-trafficking prosecution, where the amount of a drug a defendant possesses may have

 some correlation to his position in a distribution hierarchy, the number of images a

 defendant possesses is meaningless as an indicator of any position in a pornography

 distribution system. The images can be endlessly replicated. Whatever connection there

 may be between a defendant’s relative guilt and the number of images he possesses, an

 enhancement of five levels for possession of over 600 images overstates that connection.

 Moreover, the enhancement for number of images tops out at a five-level increase for more

 than 600 images. In this Court’s experience, the number of images possessed or distributed

 usually measure in the thousands. The number of images enhancement is not rationally

 connected to the conduct at issue.

        The Court finds that the ranges of imprisonment recommended under the Guidelines

 may be appropriate for a sexual predator, but are not a reliable appraisal of a fair sentence

 in this case. The statutes criminalizing the possession of child pornography, as amended

 over time, and as interpreted by the Sentencing Commission in formulating Guidelines, are

 clearly aimed at the widespread and profit-driven dissemination of child pornography that

 the Internet facilitates and fosters. The history of legislative enactments in this area reflects

 Congressional concern with the use of computers to lure or entice children into sex acts.

 Possession of child pornography was criminalized in part because of concerns that the

 Internet facilitated access to and enticement of minors for sexual exploitation, as well as

 concerns that pedophiles use the materials to desensitize and entice victims. This case

 involves no such conduct. The legislative history also shows Congressional concern with

 dangerous child abusers and repeat offenders. The defendant is neither.




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        Enhancements of increasing severity for quantity and for recidivism are aimed at the

 most dangerous of child pornography offenders. The Guideline at issue, § 2G2.2, consists

 of a hodgepodge of outdated enhancements that apply in nearly every case, rather than

 furnishing means to carefully differentiate between offenders based on culpability and

 dangerousness. Again, Huyck does not fall into the category of the most dangerous child

 pornography offenders. The defendant has perhaps the least clinical evidence of potential

 for recidivism that the court has encountered. There is no evidence that he has, or is likely

 to, abuse children. On the culpability spectrum of increasingly serious child exploitation

 offenses, Huyck is an example of a defendant who deserves no more than the statutory

 minimum sentence, given the fact that his conduct is comparable to that of a mere

 possessor of child pornography and he is being sentenced for receipt.

        The defendant would be at the low end of the spectrum even if the Court were to

 consider the factors that the Sentencing Commission now recommends. The content of the

 defendant’s collection and the nature of his collecting behavior (in terms of volume, the

 types of sexual conduct depicted in the images, the ages of the victims depicted, and the

 extent to which an offender has organized, maintained, and protected his collection over

 time, including through the use of sophisticated technology) does not appear to be out of

 the ordinary; the degree of his engagement with other offenders—in particular, in an

 Internet “community” devoted to child pornography and child sexual exploitation has not

 been shown to be unusual; and he has no history of engaging in sexually abusive,

 exploitative, or predatory conduct in addition to his child pornography offense.

        The Court finds that the Guidelines range of roughly ten to twelve years’

 imprisonment is completely out of proportion to the defendant’s culpability in this case.




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        The Guidelines range is based on the imposition of numerous and excessive

 enhancements for circumstances that appear in nearly every child pornography case (such

 as use of the Internet, amassing numerous images, possessing images of prepubescent

 minors, and depictions of violence) on a first-time offender with no allegations of distribution.

 The Guidelines-recommended sentence is greater than necessary to protect the public and

 to deter Huyck from reoffending. A sentence of six years is appropriate to achieve the goals

 of sentencing in this case. From a progressive discipline perspective, six years in jail is a

 significant term of imprisonment for this offense.

        The mere fact of the prosecution of these cases arguably deters others from

 engaging in this sort of conduct, but much of that market is driven by compulsive behavior

 that arguably will not be deterred in any event. The deterrent effect of a lengthy sentence is

 further lessened by the international market for child exploitation offenses. The court finds

 any additional deterrent value of a longer sentence would be marginal. Further, to the extent

 that harsh punishment is necessary to deter harm to children, punishing a less-culpable

 offender as harshly as the worst does not satisfy the goals of sentencing and encourages

 disrespect for the law.

        The Court further finds that an outside-the-Guidelines sentence will respect the

 distinction between Huyck’s culpability and the far greater culpability of a distributor or

 producer of child pornography or an actual predator or abuser. The sentence imposed on a

 possessor of child pornography should be proportional to and significantly lower than a

 sentence for a distribution crime or exploitative crime that involves acts of abuse by a

 defendant. Under the Guidelines scheme, a person who views child pornography on the

 Internet can receive a longer sentence than the actual perpetrators of child abuse and those

 who commit serious drug crimes, assaults and even murder. This sentence is relatively

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 proportional to the median sentences for defendants who have engaged in more serious

 child sexual exploitation crimes such as production of child pornography, travel to engage in

 sexual conduct with a minor, or sexual abuse of minors.

        The Court finds there is insufficient evidence in the record to show that the

 defendant did not distribute, produce or download from any specific line. He was not a

 registered member of the site, and there is no evidence he chatted with the other members,

 nor is he accused of any inappropriate behavior with children. It appears that he was on the

 computer in the first case for approximately 9 minutes of time and that he viewed 37 images

 or so. Many of the enhancements in this case involve use of a computer and the number of

 images, and as this Court has stated before, such evidence lacks substantial value in cases

 such as this one. The Court is of the opinion this is more of a possession case than

 anything else.   With regard to the first case, the Court sentenced Mr. Huyck to the

 mandatory minimum of five years. The Court finds a ten-year sentence for the second case

 is not appropriate, because this defendant's conduct does not go to the top of that level as it

 is not comparable to the conduct of the most serious offender. The Court balances that with

 the fact that the defendant has denied culpability, and so the Court finds an additional year

 in addition to the five-year mandatory minimum sentence the court must impose, is

 sufficient to fulfill the goals of sentencing in this case. Accordingly, the court will sentence

 Huyck to six years on Count I, in the first case, 8:13CR107. With regard to Count II in that

 case, the Court sentences defendant Huyck to thirty-six months, concurrent with the

 sentence on Count I. With respect to Huyck's conviction in the second case, 8:15CR44, the

 Court sentences the defendant to thirty-six months to run concurrently with his sentence in

 8:13CR107.




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         THEREFORE, IT IS ORDERED THAT:

         1. The defendant’s oral motion for a variance is granted.

         2. A Judgment and Commitment and a Statement of Reasons in conformity with this

 Sentencing Order, and with the Court’s findings at the sentencing hearing, will issue this

 date.

         DATED this 19th day of October, 2015.


                                                    BY THE COURT:

                                                    s/ Joseph F. Bataillon
                                                    Senior United States District Judge




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